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            EXHIBIT 11
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                                      NOTICE OF TERMINATION

                                                 "FALCON"

   To:   Marvel Entertainment, LLC                               Marvel Studios, LLC
         Marvel Worldwide, Inc.                                  MVL Rights, LLC
         Marvel Property, Inc.                                   MVL Development, LLC
         Marvel Characters, Inc.                                 Marvel Characters, Inc.
         1290 Avenue of the Americas                             500 South Buena Vista Street
         New York, NY 10104                                      Burbank, CA 91521
         Attn: John Turitzin, Chief Counsel                      Attn: David Galluzzi, Chief Counsel
               Eli Bard, Deputy Chief Counsel

         The Walt Disney Company                                 Marvel Animation Inc.
         500 South Buena Vista Street                            623 Circle Seven Drive
         Burbank, CA 91521                                       Glendale, CA 91201
         Attn: Alan Braverman, General Counsel                   Attn: Legal Department

          PLEASE TAKE NOTICE that pursuant to Section 304(c) of the United States Copyright

  Act ( 17 U.S.C. § 304(c)) and the regulations issued thereunder by the Register of Copyrights, 37

  C.F.R. § 201.10, Nanci Solo and Erik Colan, the children, and Rachel Waldman, the biological

  granddaughter, of the deceased author Eugene J. Colan, hereby terminate all pre-January 1, 1978

  exclusive or non-exclusive grants of the transfer or license of the renewal copyright(s) in and to

  the illustrated comic book stories, many of which feature the character Falcon (a.k.a. Samuel

  Wilson), authored or co-authored by Eugene J. Colan (a.k.a. Gene Colan) and published in the

  CAPTAIN AMERICA comic book issues, all as set forth below 1 :

          1.      The names and addresses of the grantees and/or successors in title whose rights are

  being terminated are as follows: Marvel Entertainment, LLC, Marvel Worldwide, Inc., Marvel

  Property, Inc., Marvel Characters, Inc., 1290 Avenue of the Americas, New York, NY 10104;

  Marvel Studios, LLC, MVL Rights, LLC, MVL Development, LLC, Marvel Characters, Inc., 500




          1
           The terminated grantees listed herein were previously served on June 22, 2021 with a notice of
  termination under 17 U.S.C. § 304(c) regarding the Works set forth herein below. This alternate notice of
  termination is served out of an abundance of caution in the event that the prior notice is deemed ineffective.
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  South Buena Vista Street, Burbank, CA 91521; The Walt Disney Company, 500 South Buena

  Vista Street, Burbank, CA 91521; and Marvel Animation Inc., 623 Circle Seven Drive, Glendale,

  CA 91201. Pursuant to 37 C.F.R. § 201. IO(d), service of this notice is being made by First Class

  Mail, postage pre-paid to the above grantees or successors at the addresses shown.

          2.       The copyrighted work(s) to which this Notice of Termination apply(ies)

  (individually, the "Work"; collectively, the "Works") are the illustrated comic book story(ies),

  many of which feature the character Falcon (a.k.a. Samuel Wilson), authored or co-authored by

  Eugene J. Colan (a.k.a. Gene Colan), 2 along with all the characters, story elements, and/or indicia

  appearing therein, which stories were published and embodied in the comic book issues identified

  as follows:

I Title                                  I Copyright Claimant3                     I Date          I Copyright
          2
            This Notice of Termination also applies to all material authored or co-authored by Eugene J. Colan
  (in any and all medium(s), whenever created) that was reasonably associated with the Works and was
  registered with the United States Copyright Office and/or published within the termination time window,
  as defined by 17 U.S.C. § 304(c), and the effective date of this Notice of Termination. This Notice of
  Termination likewise includes any character, story element, or indicia reasonably associated with the Works
  including, without limitation, Falcon (a.k.a. Samuel Wilson), Redwing, Captain America (a.k.a. Steve
  Rogers), Red Skull, Eric Gruning, Angelo Baldini, Ivan Krushki, Franz Cadavus, Iron-Hand Hauptmann,
  General Ching, MODOK, Rick Jones, Sharon Carter, Nick Fury, Dum-Dum Dugan, Mart Baker, Agent R-
  1 ("Grizzly"), Agent R-2 ("Mike"), Professor Paul Fosgrave, Man-Brute, Silas X. Cragg, Abraham Erskine,
  Heinz Kruger General Phillips, Jarvis, Yellowjacket, Wasp, Black Panther, Vision, Robert Dietzel,
  Scorpion, Jasper Sitwell, Suprema, Scarbo, J. Jonah Jameson, Tony Stark, "Aces" Wild, Agent A-12, Agent
  A-14, Mandarin, Dr. Robert Hoskins, Diamond Head, Maggia, Android X-4, Dr. Ralph Ryder, Joe
  Robertson, Bucky Barnes, Heinrich Zemo, King Hassab of Irabia, The Hood, Batroc the Leaper, Whirlwind,
  Porcupine, Hulk, Spider-Man (a.k.a. Peter Parker), Doctor Doom, Scientist Supreme, Stone-Face, Sarah
  Wilson-Casper, Jody Casper, the Monster Ape, Prince, Mole Man, the Moloids, and Harry Osborn. Every
  reasonable effort has been made to find and list herein all such material. Nevertheless, if any such material
  has been omitted, such omission is unintentional and involuntary, and this Notice also applies to each and
  every such omitted material.
          3
            Pursuant to 37 C.F.R. § 201.1 0(b )( 1)(iii), this Notice of Termination includes the name of at least
  one author of each Work to which this Notice of Termination applies. The listing herein of any corporation
  as copyright claimant is done per Copyright Office records, and is not to be construed as an admission that
  any given work is or was a "work made for hire," nor is anything else herein to be construed as any such
  admission. Nothing contained in this Notice of Termination shall be construed to in any way limit or waive
  any right or remedy that Nanci Solo, Erik Colan and/or Rachel Waldman, may have, at law or in equity,
  with respect to the subject matter hereof, all of which is hereby expressly reserved.

                                                         2
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                                                                   Cogyright    Reg. No.
                                                                   Secured
 Captain America Vol. 1, No. 117   Magazine Management Co., Inc.   5/13/1969    B532114
                                   and Marvel Comics Group
 Captain America Vol. 1, No. 118   Magazine Management Co., Inc.   6/10/1969    B532062
                                   and Marvel Comics Group
 Captain America Vol. 1, No. 119   Magazine Management Co., Inc.   7/8/1969     B532117
                                   and Marvel Comics Group
 Captain America Vol. 1, No. 120   Magazine Management Co., Inc.   8/12/1969    B533818
                                   and Marvel Comics Group
 Captain America Vol. 1, No. 121   Magazine Management Co., Inc.   9/9/1969     B545951
                                   and Marvel Comics Group
 Captain America Vol. 1, No. 122   Magazine Management Co., Inc.   10/14/1969   B545968
                                   and Marvel Comics Group
 Captain America Vol. 1, No. 123   Magazine Management Co., Inc.   11/11/1969   B549540
                                   and Marvel Comics Group
 Captain America Vol. 1, No. 124   Magazine Management Co., Inc.   12/9/1969    B557545
                                   and Marvel Comics Group
 Captain America Vol. 1, No. 125   Magazine Management Co., Inc.   1/13/1970    B567218
                                   and Marvel Comics Group
 Captain America Vol. 1, No. 126   Magazine Management Co., Inc.   2/10/1970    B576035
                                   and Marvel Comics Group
 Captain America Vol. 1, No. 127   Magazine Management Co., Inc.   3/10/1970    B578594
                                   and Marvel Comics Group
 Captain America Vol. 1, No. 128   Magazine Management Co., Inc.   4/7/1970     B586684
                                   and Marvel Comics Group
 CaptainAmericaVol.1,No.129        Magazine Management Co., Inc.   5/5/1970     B598586
                                   and Marvel Comics Group
 Captain America Vol. 1, No. 130   Magazine Management Co., Inc.   6/9/1970     B598589
                                   and Marvel Comics Group
 Captain America Vol. 1, No. 131   Magazine Management Co., Inc.   7/7/1970     B609524
                                   and Marvel Comics Group
 Captain America Vol. 1, No. 132   Magazine Management Co., Inc.   8/4/1970     B612392
                                   and Marvel Comics Group
 Captain America Vol. 1, No. 133   Magazine Management Co., Inc.   9/8/1970     B630153;
                                   and Marvel Comics Group                      B630214
 Captain America Vol. 1, No. 134   Magazine Management Co., Inc.   10/6/1970    B630191
                                   and Marvel Comics Group
 Captain America Vol. 1, No. 135   Magazine Management Co., Inc.   11/3/1970    B631976
                                   and Marvel Comics Group
 Captain America Vol. 1, No. 136   Magazine Management Co., Inc.   12/15/1970   B638024
                                   and Marvel Comics Group
 Captain America Vol. 1, No. 137   Magazine Management Co., Inc.   1/12/1971    B648901
                                   and Marvel Comics Group



                                              3
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            3.    The grant(s) and/or transfer(s) to which this Notice of Termination applies was

  (were) made in that (those) certain copyright assignment(s) on the back of the check(s) issued by

  Marvel Entertainment, LLC's ("Marvel") predecessor company(ies) to Eugene J. Colan, regarding

  the above-listed Works, which was (were) dated on or about the time of the publication of such

  Works, as well as any other grant(s) regarding the Works by Eugene J. Colan to Marvel's

  predecessor( s). 4

            4.    The effective date of termination for each respective Work shall be as follows:

   Title:                                                   Effective Date of Termination:

   Captain America Vol. 1, No. 117                          May 14, 2025
   Captain America Vol. 1, No. 118                          June 11, 2025
   Captain America Vol. 1, No. 119                          July 9, 2025
   Captain America Vol. 1, No. 120                          August 13, 2025
   Captain America Vol. 1, No. 121                          September 10, 2025
   Captain America Vol. 1, No. 122                          October 15, 2025
   Captain America Vol. 1, No. 123                          November 12, 2025
   Captain America Vol. 1, No. 124                          December 10, 2025
   Captain America Vol. 1, No. 125                          January 14, 2026
   Captain America Vol. 1, No. 126                          February 11, 2026
   Captain America Vol. 1, No. 127                          March 11, 2026
   Captain America Vol. 1, No. 128                          April 8, 2026
   Captain America Vol. 1, No. 129                          May 6, 2026
   Captain America Vol. 1, No. 130                          June 10, 2026
   Captain America Vol. 1, No. 131                          July 8, 2026
   Captain America Vol. 1, No. 132                          August 5, 2026
   Captain America Vol. 1, No. 133                          September 9, 2026
   Captain America Vol. 1, No. 134                          October 7, 2026
   Captain America Vol. 1, No. 135                          November 4, 2026
   Captain America Vol. 1, No. 136                          December 16, 2026
   Captain America Vol. 1, No. 137                          January 13, 2027




            This Notice of Termination also applies to each and every grant or alleged grant by Eugene J.
            4

  Colan of rights under copyright in and to the Works that falls within the applicable termination time window
  (defined by 17 U.S.C. § 304(c) and the effective date of this Notice of Termination). Every reasonable effort
  has been made to find and list herein every such grant and/or transfer. Nevertheless, if any such grant and/or
  transfer has been omitted, such omission is unintentional and involuntary, and this Notice of Termination
  applies as well to each and every such omitted grant and/or transfer.
                                                        4
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         5.      Eugene J. Colan died on June 23, 2011. He is survived by his children, Nanci Solo

  and Erik Colan, biological grandchild, Rachel Waldman (the daughter of his deceased biological

  child, Valerie Waldman) and biological child, Jill Kubicki. Together Nanci Solo, Erik Colan and

  Rachel Waldman constitute more than one-half of Eugene J. Colan's termination interest.

  Accordingly, this Notice has been signed by all persons needed to terminate the grant(s) identified

  herein under 17 U.S.C. § 304(c).


   Dated: November 15, 2022                           TOBEROFF & ASSOCIATES, P.C.



                                                      Marc Toberoff

                                                      23823 Malibu Road, Suite 50-363
                                                      Malibu, CA 90265
                                                      Tel: (310) 246-3333

                                                      As counsel for and on behalf of Nanci Solo,
                                                      Erik Colan and Rachel Waldman




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                                  CERTIFICATE OF SERVICE

         I hereby certify that I caused a true copy of the foregoing document described as

  NOTICE OF TERMINATION to be served this 15 th day of November, 2022, by First Class

  Mail, postage prepaid, upon each of the following:

   To:   Marvel Entertainment, LLC                            Marvel Studios, LLC
         Marvel Worldwide, Inc.                               MVL Rights, LLC
         Marvel Property, Inc.                                MVL Development, LLC
         Marvel Characters, Inc.                              Marvel Characters, Inc.
         1290 A venue of the Americas                         500 South Buena Vista Street
         New York, NY 10104                                   Burbank, CA 91521
         Attn: John Turitzin, Chief Counsel                   Attn: David Galluzzi, Chief Counsel
               Eli Bard, Deputy Chief Counsel

         The Walt Disney Company                              Marvel Animation Inc.
         500 South Buena Vista Street                         623 Circle Seven Drive
         Burbank, CA 91521                                    Glendale, CA 91201
         Attn: Alan Braverman, General Counsel                Attn: Legal Department



         I declare under penalty of perjury that the foregoing is true and correct. Executed this 15 th

  day of November, 2022, at Malibu, California.




                                                           ie Parkkinen
                                                         beroff & Associates, P.C.
                                                       23823 Malibu Road, Suite 50-363
                                                       Malibu, CA 90265

                                                       Counsel for Nanci Solo, Erik Colan and
                                                       Rachel Waldman




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                                      NOTICE OF TERMINATION

                                                  "BLADE"


   To:   Marvel Entertainment, LLC                               Marvel Studios, LLC
         Marvel Worldwide, Inc.                                  MVL Rights, LLC
         Marvel Property, Inc.                                   MVL Development, LLC
         Marvel Characters, Inc.                                 Marvel Characters, Inc.
         1290 Avenue of the Americas                             500 South Buena Vista Street
         New York, NY 10104                                      Burbank, CA 91521
         Attn: John Turitzin, Chief Counsel                      Attn: David Galluzzi, Chief Counsel
               Eli Bard, Deputy Chief Counsel

         The Walt Disney Company                                 Marvel Animation Inc.
         500 South Buena Vista Street                            623 Circle Seven Drive
         Burbank, CA 9152 l                                      Glendale, CA 91201
         Attn: Alan Braverman, General Counsel                   Attn: Legal Department



          PLEASE TAKE NOTICE that pursuant to Section 304(c) of the United States Copyright

  Act ( 17 U.S.C. § 304(c)) and the regulations issued thereunder by the Register of Copyrights, 37

  C.F.R. § 201. lO, Nanci Solo and Erik Colan, the children, and Rachel Waldman, the biological

  granddaughter, of the deceased author Eugene J. Colan, hereby terminate all pre-January 1, 1978

  exclusive or non-exclusive grants of the transfer or license of the renewal copyright(s) in and to

  the illustrated comic book stories, many of which feature the character Blade (a.k.a. Eric Brooks),

  authored or co-authored by Eugene J. Colan (a.k.a. Gene Colan) and published in the TOMB OF

  DRACULA comic book issues, all as set forth below 1 :

          I.      The names and addresses of the grantees and/or successors in title whose rights are

  being terminated are as follows: Marvel Entertainment, LLC, Marvel Worldwide, Inc., Marvel

  Property, Inc., Marvel Characters, Inc., 1290 Avenue of the Americas, New York, NY 10104;



          1 The terminated grantees listed herein were previous! y served on June 22, 2021 with a notice of

  termination under 17 U.S.C. § 304(c) regarding the Works set forth herein below. This alternate notice of
  termination is served out of an abundance of caution in the event that the prior notice is deemed ineffective.
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  Marvel Studios, LLC, MVL Rights, LLC, MVL Development, LLC, Marvel Characters, Inc., 500

  South Buena Vista Street, Burbank, CA 91521; The Walt Disney Company, 500 South Buena

  Vista Street, Burbank, CA 91521; and Marvel Animation Inc., 623 Circle Seven Drive, Glendale,

  CA 91201. Pursuant to 37 C.F.R. § 201.lO(d), service of this notice is being made by First Class

  Mail, postage pre-paid to the above grantees or successors at the addresses shown.

          2.      The copyrighted work(s) to which this Notice of Termination apply(ies)

  (individually, the "Work"; collectively, the "Works") are the illustrated comic book story(ies),

  many of which feature the character Blade (a.k.a. Eric Brooks), authored or co-authored by Eugene

  J. Colan (a.k.a. Gene Colan), 2 along with all the characters, story elements, and/or indicia




          2
            This Notice of Termination also applies to all material authored or co-authored by Eugene J. Colan
  (in any and all medium(s), whenever created) that was reasonably associated with the Works and was
  registered with the United States Copyright Office and/or published within the termination time window,
  as defined by 17 U.S.C. § 304(c), and the effective date of this Notice of Termination. This Notice of
  Termination likewise includes any character, story element, or indicia reasonably associated with the Works
  including, without limitation, Blade (a.k.a. Eric Brooks), Jeanie Ovington, Abraham van Helsing, Fritz
  Burgeister, Danny Summers, Carl von Harbou, Ilsa Strangeway, Inspector Chelm, Godfrey Langston,
  Lenore DeCade, the Moorlands Monster, Lord Dering, Lady Dering, Buckley Grainger, Dr. Heinrich
  Mortte, Adrian Mortte, Corker Haller, Gladys Fulton, Jason Faust, Oliver Gordon, Molodowi, Henry
  Laswell, Duncan Corley, Helen Cantler, James Jackson, Shivvey Martin, Gordo Brown, Horatio Toombs,
  Marie Komph, Theresa Beare, Henry Bonney, Paul Beare, Peter Vornik, Ulsa Vornik, Petra Vornik, Leonid
  Korsak, Katerina Stenski, Marcus Fydora, Shiela Whittier, Alestar Dunwick, Lilith Drake, Henrietta
  Dunwick, Rodney Dunwick, Caroline Bascombe, Hannibal King, Adrianne Brown Walers, Fred Walters,
  David Eshcol Chastity Jones, Joshua Eschol, C'Thunda, King Kull, Mae Li, Adri Nita!, Beverly Gable,
  Lyza Strang, Archibald Strang, Melanie Knight, Marcia Knight, Paul Knight, Kuai Hua, Ogun, Azi,
  Musenda, Orji, Mary-Beth Singleton, Lord Arthur Singleton, Brother Voodoo, Daniel Drumm, Daphne von
  Wilkinson, Jackson Hardy, Tilly Beatering, Martin Beatering, Ken Mitchell, Jack Bolt, Winston Twindle,
  Angie Rogers, William Perry, Joe Petri, Jack Ownes, Capt. Sid Greenely, Harold H. Harold, Aurora
  Rabinowitz, Juno, Janet Galin, Stu Summers, Elizabeth Harker, Jonathan Harker, Edith Harker, Quincy
  Harker, Clifton Graves, Dracula (a.k.a. Vlad Dracula), Garbiel Trulaine, Charlie O'Casey, Martin Scampt,
  Lord Turac, Frank Drake, Rachel van Helsing, Taj Nital, Elizabeth Langley, Saint, Safron Caulder, Cecile
  Parker, Deacon Frost, Tara Brooks, Jasper O'Connor, Josiah Dawn, Lucas Brand, Professor Morgo, Dr.
  Sun, Kitty, Orphelus, Turac, Maria Dracula, Jacques Granet, Ludwig Gruber, Jack Russell, Henri Verne,
  Greta Verne, Werewolf by Night, Topaz, "Scratcher" Martin, Gregory Russoff, Laura Russoff Russell,
  Werewolf, Shiela Whittier, Trudy Taylor, and Jyota Nital. Every reasonable effort has been made to find
  and list herein all such material. Nevertheless, if any such material has been omitted, such omission is
  unintentional and involuntary, and this Notice also applies to each and every such omitted material.


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  appearing therein, which stories were published and embodied in the comic book issues identified

  as follows:

  Title                                CoQyright Claimant3                        Date            Co12yright
                                                                                  Co12yright      Reg. No.
                                                                                  Secured
  Tomb of Dracula Vol. 1, No. 1  Magazine Management Co., Inc.                    10/19/1971      B712603
                                 and Marvel Comics Group
  Tomb of Dracula Vol. 1, No. 2  Magazine Management Co., Inc.                    2/1/1972        B739653
                                 and Marvel Comics Group
  Tomb of Dracula Vol. 1, No. 3  Magazine Management Co., Inc.                    3/28/1972       B744432
                                 and Marvel Comics Group
  Tomb of Dracula Vol. 1, No. 4  Magazine Management Co., Inc.                    5/30/1973       B847506
                                 and Marvel Comics Group
  Tomb of Dracula Vol. 1, No. 5  Magazine Management Co., Inc.                    7/25/1972       B772985
                                 and Marvel Comics Group
  Tomb of Dracula Vol. 1, No. 6  Magazine Management Co., Inc.                    9/26/1972       B787599
                                 and Marvel Comics Group
  Tomb of Dracula Vol. 1, No. 7  Magazine Management Co., Inc.                     l l/21/1972    B800163
                                 and Marvel Comics Group
  Tomb of Dracula Vol. I, No. 8  Marvel Comics Group, a division                   1/23/1973      B815059
                                 of Cadence Industries Corp.
  Tomb of Dracula Vol. 1, No. 9  Marvel Comics Group, a division                  2/20/1973       B825207
                                 of Cadence Industries Corp.
  Tomb of Dracula Vol. 1, No. 10 Marvel Comics Group, a division                  3/20/1973       B829682
                                 of Cadence Industries Corp.
  Tomb of Dracula Vol. 1, No. 11 Marvel Comics Group, a division                  4/24/1973       B846942
                                 of Cadence Industries Corp.
  Tomb of Dracula Vol. 1, No. 12 Marvel Comics Group, a division                  5/22/1973       B846899
                                 of Cadence Industries Corp.
  Tomb of Dracula Vol. l, No. 13 Marvel Comics Group, a division                  6/19/1973       B851838
                                 of Cadence Industries Corp.
  Tomb of Dracula Vol. 1, No. 14 Marvel Comics Group, a division                  7/17/1973       B857134
                                 of Cadence Industries Corp.
  Tomb of Dracula Vol. 1, No. 15 Marvel Comics Group, a division                  8/14/1973       B866425
                                 of Cadence Industries Corp.
  Tomb of Dracula Vol. 1, No. 16 Marvel Comics Group, a division                  9/4/1973        B879205

          3
            Pursuant to 37 C.F.R. § 201.l0(b)(l)(iii), this Notice of Termination includes the name of at least
  one author of each Work to which this Notice of Termination applies. The listing herein of any corporation
  as copyright claimant is done per Copyright Office records, and is not to be construed as an admission that
  any given work is or was a "work made for hire," nor is anything else herein to be construed as any such
  admission. Nothing contained in this Notice of Termination shall be construed to in any way limit or waive
  any right or remedy that Nanci Solo, Erik Colan and/or Rachel Waldman, may have, at law or in equity,
  with respect to the subject matter hereof, all of which is hereby expressly reserved.

                                                       3
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                                   of Cadence Industries Coro.
  Tomb of Dracula Vol. l, No. 17   Marvel Comics Group, a division     9/25/1973    B883969
                                   of Cadence Industries Corp.
  Tomb of Dracula Vol. I, No. 18   Marvel Comics Group, a division     10/23/1973   B891716
                                   of Cadence Industries Corporation
  Tomb of Dracula Vol. l, No. 19   Marvel Comics Group, a division     11/20/1973   B899455
                                   of Cadence Industries Corporation
  Tomb of Dracula Vol. l, No. 20   Marvel Comics Group, a division     1/8/1974     B906646
                                   of Cadence Industries Corporation
  Tomb of Dracula Vol. 1, No. 21   Marvel Comics Group, a division     2/5/1974     B918332
                                   of Cadence Industries Corooration
  Tomb of Dracula Vol. l, No. 22   Marvel Comics Group, a division     3/5/1974     B926664
                                   of Cadence Industries Corooration
  Tomb of Dracula Vol. l, No. 23   Marvel Comics Group, a division     5/7/1974     B939804
                                   of Cadence Industries Corporation
  Tomb of Dracula Vol. l, No. 24   Marvel Comics Group, a division     6/4/1974     B939782
                                   of Cadence Industries Corporation
  Tomb of Dracula Vol. l, No. 25   Marvel Comics Group, a division     6/4/1974     B956177
                                   of Cadence Industries Corooration
  Tomb of Dracula Vol. 1, No. 26   Marvel Comics Group, a division     7/2/1974     B964044
                                   of Cadence Industries Corporation
  Tomb of Dracula Vol. 1, No. 27   Marvel Comics Group, a division     9/3/1974     B964074
                                   of Cadence Industries Corporation
  Tomb of Dracula Vol. 1, No. 28   Marvel Comics Group, a division     9/3/1974     B982110
                                   of Cadence Industries Corooration
  Tomb of Dracula Vol. 1, No. 29   Marvel Comics Group, a division     10/8/1974    B978710
                                   of Cadence Industries Corporation
  Tomb of Dracula Vol. 1, No. 30   Marvel Comics Group, a division     11/5/1974    B989057
                                   of Cadence Industries Corporation
  Tomb of Dracula Vol. 1, No. 31   Marvel Comics Group, a division     12/3/1974    B995431
                                   of Cadence Industries Corooration
  Tomb of Dracula Vol. 1, No. 32   Marvel Comics Group, a division     1/7/1975     B999523
                                   of Cadence Industries Corporation
  Tomb of Dracula Vol. 1, No. 33   Marvel Comics Group, a division     2/4/1975     B8139
                                   of Cadence Industries Corporation
  Tomb of Dracula Vol. 1, No. 34   Marvel Comics Group, a division     4/8/1975     B16961
                                   of Cadence Industries Corooration
  Tomb of Dracula Vol. 1, No. 35   Marvel Comics Group, a division     4/1/1975     B24311
                                   of Cadence Industries Corporation
  Tomb of Dracula Vol. 1, No. 36   Marvel Comics Group, a division     4/29/1975    B47240
                                   of Cadence Industries Corporation
  Tomb of Dracula Vol. 1, No. 37   Marvel Comics Group, a division     6/10/1975    B48651
                                   of Cadence Industries Corporation


         3.     The grant(s) and/or transfer(s) to which this Notice of Termination applies was

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  (were) made in that (those) certain copyright assignment(s) on the back of the check(s) issued by

  Marvel Entertainment, LLC's ("Marvel") predecessor company(ies) to Eugene J. Colan, regarding

  the above-listed Works, which was (were) dated on or about the time of the publication of such

  Works, as well as any other grant(s) regarding the Works by Eugene J. Colan to Marvel's

  predecessor( s). 4

            4.     The effective date of termination for each respective Work shall be as follows:

   Title:                                                   Effective Date of Termination:

   Tomb of Dracula Vol. 1, No. 1                            October 20, 2027
   Tomb of Dracula Vol. 1, No. 2                            February 2, 2028
   Tomb of Dracula Vol. 1, No. 3                            March 29, 2028
   Tomb of Dracula Vol. 1, No. 4                            May 31, 2029
   Tomb of Dracula Vol. 1, No. 5                            July 26, 2028
   Tomb of Dracula Vol. 1, No. 6                            September 27, 2028
   Tomb of Dracula Vol. 1, No. 7                            November 22, 2028
   Tomb of Dracula Vol. 1, No. 8                            January 24, 2029
   Tomb of Dracula Vol. 1, No. 9                            February 21, 2029
   Tomb of Dracula Vol. 1, No. 10                           March 21, 2029
   Tomb of Dracula Vol. 1, No. 11                           April 25, 2029
   Tomb of Dracula Vol. 1, No. 12                           May 23, 2029
   Tomb of Dracula Vol. 1, No. 13                           June 20, 2029
   Tomb of Dracula Vol. 1, No. 14                           July 18, 2029
   Tomb of Dracula Vol. 1, No. 15                           August 15, 2029
   Tomb of Dracula Vol. 1, No. 16                           September 5, 2029
   Tomb of Dracula Vol. 1, No. 17                           September 26, 2029
   Tomb of Dracula Vol. 1, No. 18                           October 24, 2029
   Tomb of Dracula Vol. 1, No. 19                           November 21, 2029
   Tomb of Dracula Vol. 1, No. 20                           January 9, 2030
   Tomb of Dracula Vol. 1, No. 21                           February 6, 2030
   Tomb of Dracula Vol. 1, No. 22                           March 6, 2030
   Tomb of Dracula Vol. 1, No. 23                           May 8, 2030
   Tomb of Dracula Vol. 1, No. 24                           June 5, 2030
   Tomb of Dracula Vol. 1, No. 25                           June 5, 2030
   Tomb of Dracula Vol. 1, No. 26                           July 3, 2030

            This Notice of Termination also applies to each and every grant or alleged grant by Eugene J.
            4

  Colan of rights under copyright in and to the Works that falls within the applicable termination time window
  (defined by 17 U.S.C. § 304(c) and the effective date of this Notice of Termination). Every reasonable effort
  has been made to find and list herein every such grant and/or transfer. Nevertheless, if any such grant and/or
  transfer has been omitted, such omission is unintentional and involuntary, and this Notice of Termination
  applies as well to each and every such omitted grant and/or transfer.
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   Tomb of Dracula Vol. 1, No. 27                     September 4, 2030
   Tomb of Dracula Vol. 1, No. 28                     September 4, 2030
   Tomb of Dracula Vol. 1, No. 29                     October 9, 2030
   Tomb of Dracula Vol. 1, No. 30                     November 6, 2030
   Tomb of Dracula Vol. 1, No. 31                     December 4, 2030
   Tomb of Dracula Vol. 1, No. 32                     January 8, 2031
   Tomb of Dracula Vol. 1, No. 33                     February 5, 2031
   Tomb of Dracula Vol. 1, No. 34                     April 9, 203 1
   Tomb of Dracula Vol. 1, No. 35                     April 2, 2031
   Tomb of Dracula Vol. 1, No. 36                     April30,2031
   Tomb of Dracula Vol. 1, No. 37                     June 11, 2031


         5.      Eugene J. Colan died on June 23, 2011. He is survived by his children, Nanci Solo

  and Erik Colan, biological grandchild, Rachel Waldman (the daughter of his deceased biological

  child, Valerie Waldman) and biological child, Jill Kubicki. Together Nanci Solo, Erik Colan and

  Rachel Waldman constitute more than one-half of Eugene J. Colan's termination interest.

  Accordingly, this Notice has been signed by all persons needed to terminate the grant(s) identified

  herein under 17 U.S.C. § 304(c).




                                                               -------..
   Dated: November 15, 2022                           TOBEROFF & ASSOCIATES, P.C.



                                                      Marc Toberoff

                                                      23823 Malibu Road, Suite 50-363
                                                      Malibu, CA 90265
                                                      Tel: (310) 246-3333

                                                      As counsel for and on behalf of Nanci Solo,
                                                      Erik Colan and Rachel Waldman




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                                           #: 1545



                                  CERTIFICATE OF SERVICE

         I hereby certify that I caused a true copy of the foregoing document described as

  NOTICE OF TERMINATION to be served this 15 th day of November, 2022, by First Class

  Mail, postage prepaid, upon each of the following:

   To:   Marvel Entertainment, LLC                            Marvel Studios, LLC
         Marvel Worldwide, Inc.                               MVL Rights, LLC
         Marvel Property, Inc.                                MVL Development, LLC
         Marvel Characters, Inc.                              Marvel Characters, Inc.
         1290 A venue of the Americas                         500 South Buena Vista Street
         New York, NY 10104                                   Burbank, CA 91521
         Attn: John Turitzin, Chief Counsel                   Attn: David Galluzzi, Chief Counsel
               Eli Bard, Deputy Chief Counsel

         The Walt Disney Company                              Marvel Animation Inc.
         500 South Buena Vista Street                         623 Circle Seven Drive
         Burbank, CA 91521                                    Glendale, CA 91201
         Attn: Alan Braverman, General Counsel                Attn: Legal Department



         I declare under penalty of perjury that the foregoing is true and correct. Executed this 15 th

  day of November, 2022, at Malibu, California.




                                                        a ·e Parkkinen
                                                       To eroff & Associates, P.C.
                                                       23823 Malibu Road, Suite 50-363
                                                       Malibu, CA 90265

                                                       Counsel for Nanci Solo, Erik Colan and
                                                       Rachel Waldman




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                                      NOTICE OF TERMINATION

                                          "CAPTAIN MARVEL"


   To:   Marvel Entertainment, LLC                               Marvel Studios, LLC
         Marvel Worldwide, Inc.                                  MVL Rights, LLC
         Marvel Property, Inc.                                   MVL Development, LLC
         Marvel Characters, Inc.                                 Marvel Characters, Inc.
         1290 A venue of the Americas                            500 South Buena Vista Street
         New York, NY 10104                                      Burbank, CA 91521
         Attn: John Turitzin, Chief Counsel                      Attn: David Galluzzi, Chief Counsel
               Eli Bard, Deputy Chief Counsel

         The Walt Disney Company                                 Marvel Animation Inc.
         500 South Buena Vista Street                            623 Circle Seven Drive
         Burbank, CA 91521                                       Glendale, CA 91201
         Attn: Alan Braverman, General Counsel                   Attn: Legal Department



          PLEASE TAKE NOTICE that pursuant to Section 304(c) of the United States Copyright

  Act (17 U.S.C. § 304(c)) and the regulations issued thereunder by the Register of Copyrights, 37

  C.F.R. § 201.10, Nanci Solo and Erik Colan, the children, and Rachel Waldman, the biological

  grandchild, of the deceased author Eugene J. Colan, hereby terminate all pre-January 1, 1978

  exclusive or non-exclusive grants of the transfer or license of the renewal copyright(s) in and to

  the illustrated comic book stories, featuring the character Captain Marvel (a.k.a. Mar-Yell),

  authored or co-authored by Eugene J. Colan (a.k.a. Gene Colan), and published in the respective

  comic book issues listed in paragraph 2 of this Notice, all as set forth below 1:

          1.      The names and addresses of the grantees and/or successors in title whose rights are

  being terminated are as follows: Marvel Entertainment, LLC, Marvel Worldwide, Inc., Marvel

  Property, Inc., Marvel Characters, Inc., 1290 Avenue of the Americas, New York, NY 10104;



          1 The terminated grantees listed herein were previously served on June 22, 2021 with a notice of
  termination under 17 U.S.C. § 304(c) regarding the Works set forth herein below. This alternate notice of
  termination is served out of an abundance of caution in the event that the prior notice is deemed ineffective.
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  Marvel Studios, LLC, MVL Rights, LLC, MVL Development, LLC, Marvel Characters, Inc., 500

  South Buena Vista Street, Burbank, CA 91521; The Walt Disney Company, 500 South Buena

  Vista Street, Burbank, CA 91521; and Marvel Animation Inc., 623 Circle Seven Drive, Glendale,

  CA 9I201. Pursuant to 37 C.F.R. § 201.10(d), service of this notice is being made by First Class

  Mail, postage pre-paid to the above grantees or successors at the addresses shown.

          2.      The copyrighted work(s) to which this Notice of Termination apply(ies)

  (individually, the "Work"; collectively, the "Works") are the illustrated comic book story(ies),

  featuring the character Captain Marvel (a.k.a. Mar-Yell), authored or co-authored by Eugene J.

  Colan (a.k.a. Gene Colan),2 along with all the characters, story elements, and/or indicia appearing

  therein, which stories were published and embodied in the comic book issues identified as follows:

 Title                                     Conyright Claimant3                     Date             Conyright
                                                                                   Conyright        Reg. No.
                                                                                   Secured

 Marvel Super-Heroes Vol 1, No. 12         Marvel Comics, Inc. and                 10/10/1967       B462618
                                           Marvel Comics Group


          2
            This Notice of Termination also applies to all material authored or co-authored by Eugene J. Colan
  (in any and all medium(s), whenever created) that was reasonably associated with the Works and was
  registered with the United States Copyright Office and/or published within the termination time window,
  as defined by 17 U.S.C. § 304(c), and the effective date of this Notice of Termination. This Notice of
  Termination likewise includes any character, story element, or indicia reasonably associated with the Works
  including, without limitation, Captain Marvel (a.k.a. Mar-Yell), Carol Danvers (a.k.a. Car-Ell), Una, Yon-
  Rogg, Zarek, the Kree Soldiers, Jeremy Logan, Supreme Intelligence, Sentry 459, Ronan the Accuser,
  Walter Lawson, Sam Hill, General William Bridges, Walter Lawson, Dorrek VII, Anelle, Machino, Hal
  Logan, Chester Fenton, Super-Skrull (a.k.a. Kl'rt), the Skrull Emperor, and Namor the Sub-Mariner. Every
  reasonable effort has been made to find and list herein all such material. Nevertheless, if any such material
  has been omitted, such omission is unintentional and involuntary, and this Notice also applies to each and
  every such omitted material.
          3
            Pursuant to 37 C.F.R. § 201.1 0(b)( l)(iii), this Notice of Termination includes the name of at least
  one author of each Work to which this Notice of Termination applies. The listing herein of any corporation
  as copyright claimant is done per Copyright Office records, and is not to be construed as an admission that
  any given work is or was a "work made for hire," nor is anything else herein to be construed as any such
  admission. Nothing contained in this Notice of Termination shall be construed to in any way limit or waive
  any right or remedy that Nanci Solo, Erik Colan and/or Rachel Waldman, may have, at law or in equity,
  with respect to the subject matter hereof, all of which is hereby expressly reserved.

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 Marvel Super-Heroes Vol 1, No. 13         Marvel Comics, Inc. and                12/12/1967       B462617
                                           Marvel Comics Group
 Marvel's Space-Born Superhero!            Marvel Comics, Inc. and                2/8/1968         B462622
 Captain Marvel Vol. 1, No. 1              Marvel Comics Group
 Marvel's Space-Born Superhero!            Marvel Comics, Inc. and                3/7/1968         B462631
 Captain Marvel Vol. 1, No. 2              Marvel Comics Group
 Marvel's Space-Born Superhero!            Marvel Comics, Inc. and                4/9/1968         B462609
 Captain Marvel Vol. 1, No. 3              Marvel Comics Group
 Marvel's Space-Born Superhero!            Marvel Comics, Inc. and                5/9/1968         B462620
 Captain Marvel Vol. 1, No. 4              Marvel Comics Group


            3.    The grant(s) and/or transfer(s) to which this Notice of Termination applies was

  (were) made in that (those) certain copyright assignment(s) on the back of the check(s) issued by

  Marvel Entertainment, LLC's ("Marvel") predecessor company(ies) to Eugene J. Colan, with

  respect to the above-listed Works, which was (were) dated on or about the time of the respective

  publication of such Works, as well as any other grant(s) regarding the Works by Eugene J. Colan

  to Marvel's predecessor(s). 4

            4.    The effective date of termination for each respective Work shall be as follows:

   Title:                                                   Effective Date of Termination:

   Marvel Super-Heroes Vol 1, No. 12                        November 16, 2024
   Marvel Super-Heroes Vol 1, No. 13                        November 16, 2024
   Marvel's Space-Born Superhero!                           November 16, 2024
   Captain Marvel Vol. 1, No. 1
   Marvel's Space-Born Superhero!                           November 16, 2024
   Captain Marvel Vol. 1, No. 2
   Marvel's Space-Born Superhero!                           November 16, 2024
   Captain Marvel Vol. 1, No. 3
   Marvel's Space-Born Superhero!                           November 16, 2024
   Captain Marvel Vol. 1, No. 4




            This Notice of Termination also applies to each and every grant or alleged grant by Eugene J.
            4

  Colan of rights under copyright in and to the Works that falls within the applicable termination time window
  (defined by 17 U.S.C. § 304(c) and the effective date of this Notice of Termination). Every reasonable effort
  has been made to find and list herein every such grant and/or transfer. Nevertheless, if any such grant and/or
  transfer has been omitted, such omission is unintentional and involuntary, and this Notice of Termination
  applies as well to each and every such omitted grant and/or transfer.
                                                        3
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                                           #: 1549


         5.      Eugene J. Colan died on June 23, 2011. He is survived by his children, Nanci Solo

  and Erik Colan, biological grandchild, Rachel Waldman (the daughter of his deceased biological

  child, Valerie Waldman) and biological child, Jill Kubicki. Together Nanci Solo, Erik Colan and

  Rachel Waldman constitute more than one-half of Eugene J. Colan's termination interest.

  Accordingly, this Notice has been signed by all persons needed to terminate the grant(s) identified

  herein under 17 U.S.C. § 304(c).


   Dated: November 15, 2022                           TOBEROFF & ASSOCIATES, P.C.



                                                      Marc Toberoff

                                                      23823 Malibu Road, Suite 50-363
                                                      Malibu, CA 90265
                                                      Tel: (310) 246-3333

                                                      As counsel for and on behalf of Nanci Solo,
                                                      Erik Colan and Rachel Waldman




                                                  4
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                                           #: 1550




                                  CERTIFICATE OF SERVICE

         I hereby certify that I caused a true copy of the foregoing document described as

  NOTICE OF TERMINATION to be served this 15 th day of November, 2022, by First Class

  Mail, postage prepaid, upon each of the following:

   To:   Marvel Entertainment, LLC                            Marvel Studios, LLC
         Marvel Worldwide, Inc.                               MVL Rights, LLC
         Marvel Property, Inc.                                MVL Development, LLC
         Marvel Characters, Inc.                              Marvel Characters, Inc.
         1290 A venue of the Americas                         500 South Buena Vista Street
         New York, NY 10104                                   Burbank, CA 91521
         Attn: John Turitzin, Chief Counsel                   Attn: David Galluzzi, Chief Counsel
               Eli Bard, Deputy Chief Counsel

         The Walt Disney Company                              Marvel Animation Inc.
         500 South Buena Vista Street                         623 Circle Seven Drive
         Burbank, CA 91521                                    Glendale, CA 9120 I
         Attn: Alan Braverman, General Counsel                Attn: Legal Department



         I declare under penalty of perjury that the foregoing is true and correct. Executed this 15 th

  day of November, 2022, at Malibu, California.


                                                                              _____      ,




                                                       Ja~-n-en_ __

                                                       Toberoff & Associates, P.C.
                                                       23823 Malibu Road, Suite 50-363
                                                       Malibu, CA 90265

                                                       Counsel for Nanci Solo, Erik Colan and
                                                       Rachel Waldman.




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                                      NOTICE OF TERMINATION

                                  "GUARDIANS OF THE GALAXY"


   To:   Marvel Entertainment, LLC                               Marvel Studios, LLC
         Marvel Worldwide, Inc.                                  MVL Rights, LLC
         Marvel Property, Inc.                                   MVL Development, LLC
         Marvel Characters, Inc.                                 Marvel Characters, Inc.
         1290 A venue of the Americas                            500 South Buena Vista Street
         New York, NY 10104                                      Burbank, CA 91521
         Attn: John Turitzin, Chief Counsel                      Attn: David Galluzzi, Chief Counsel
               Eli Bard, Deputy Chief Counsel

         The Walt Disney Company
         500 South Buena Vista Street
         Burbank, CA 91521
         Attn: Alan Braverman, General Counsel



          PLEASE TAKE NOTICE that pursuant to Section 304(c) of the United States Copyright

  Act (17 U.S.C. § 304(c)) and the regulations issued thereunder by the Register of Copyrights, 37

  C.F.R. § 201.10, Nanci Solo and Erik Colan, the children, and Rachel Waldman, the biological

  granddaughter, of the deceased author Eugene J. Colan, hereby terminate all pre-January 1, 1978

  exclusive or non-exclusive grants of the transfer or license of the renewal copyright(s) in and to

  the illustrated comic book story entitled "Earth Shall Overcome!" (which story contains the first

  appearances of the characters Charlie-27, Major Vance Astro, Martinex T'Naga, and Yondu

  Udonta - collectively, the "Guardians of the Galaxy"), co-authored by Eugene J. Colan (a.k.a.

  Gene Colan), and published in Marvel Super-Heroes, Vol. I, No. 18, and set forth in connection

  therewith the following 1 :

          I.      The names and addresses of the grantees and/or successors in title whose rights are



          1The terminated grantees listed herein were previously served on June 22, 202 l with a notice of
  termination under 17 U.S.C. § 304(c) regarding the Works set forth herein below. This alternate notice of
  termination is served out of an abundance of caution in the event that the prior notice is deemed ineffective.
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  being terminated are as follows: Marvel Entertainment, LLC, Marvel Worldwide, Inc., Marvel

  Property, Inc., Marvel Characters, Inc., 1290 Avenue of the Americas, New York, NY 10104;

  Marvel Studios, LLC, MVL Rights, LLC, MVL Development, LLC, Marvel Characters, Inc., 500

  South Buena Vista Street, Burbank, CA 91521; and The Walt Disney Company, 500 South Buena

  Vista Street, Burbank, CA 91521. Pursuant to 37 C.F.R. § 201. lO(d), service of this notice is being

  made by First Class Mail, postage pre-paid to the above grantees or successors at the addresses

  shown.

           2.     The copyrighted work (the "Work") to which this Notice of Termination applies is

  the illustrated comic book story entitled "Earth Shall Overcome!," (which story contains the first

  appearances of the characters Charlie-27, Major Vance Astro, Martinex T'Naga, and Yondu

  Udonta - collectively, the "Guardians of the Galaxy"), co-authored by Eugene J. Colan (a.k.a Gene

  Colan), 2 and published and embodied in Marvel Super-Heroes, Vol. 1, No. 18 (which includes this

  issue's cover page), which issue was registered with the U.S. Copyright Office by Perfect Film &

  Chemical Corp. and Marvel Comics Group on October 15, 1968 under Copyright Registration No.

  B474875, and includes all the characters, story elements, and/or indicia appearing therein. 3



           2
            This Notice of Termination also applies to all material authored or co-authored by Eugene J. Colan
  (in any and all medium(s), whenever created) that was reasonably associated with the Work and was
  registered with the United States Copyright Office and/or published within the termination time window,
  as defined by 17 U.S.C. § 304(c), and the effective date of this Notice of Termination. This Notice of
  Termination likewise includes any character, story element, or indicia reasonably associated with the Work
  including, without limitation, the Guardians of the Galaxy, Charlie-27, Major Vance Astro, Martinex
  T'Naga, Yondu Udonta, Charlie-26, Maz, Yur, Drang, the Saturnian Hound-Hawks, and Betina Marsh.
  Every reasonable effort has been made to find and list herein all such material. Nevertheless, if any such
  material has been omitted, such omission is unintentional and involuntary, and this Notice also applies to
  each and every such omitted material.

           Pursuant to 37 C.F.R. § 201.l0(b)(l)(iii), this Notice of Termination includes the name of at least
           3

  one author of the Work to which this Notice of Termination applies. The listing herein of any corporation
  as copyright claimant is done per Copyright Office records, and is not to be construed as an admission that
  any given work is or was a "work made for hire," nor is anything else herein to be construed as any such
  admission. Nothing contained in this Notice of Termination shall be construed to in any way limit or waive

                                                       2
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                                               #: 1553


          3.      The grant(s) and/or transfer(s) to which this Notice of Termination applies was

  (were) made in that (those) certain copyright assignment(s) on the back of the check(s) issued by

  Marvel Entertainment, LLC's ("Marvel") predecessor company(ies) to Eugene J. Colan, with

  respect to the above-listed Work, which was (were) dated on or about the time of the publication

  of such Work, as well as any other grant(s) regarding the Work by Eugene J. Colan to Marvel's

  predecessor(s). 4

          4.      The effective date of termination of the Work shall be November 16, 2024.

          5.      Eugene J. Colan died on June 23, 2011. He is survived by his children, Nanci Solo

  and Erik Colan, biological grandchild, Rachel Waldman (the daughter of his deceased biological

  child, Valerie Waldman) and biological child, Jill Kubicki. Together Nanci Solo, Erik Colan and

  Rachel Waldman constitute more than one-half of Eugene J. Colan's termination interest.

  Accordingly, this Notice has been signed by all persons needed to terminate the grant(s) identified

  herein under 17 U.S.C. § 304(c).


   Dated: November 15, 2022
                                                                       ________,
                                                            TOBEROFF & ASSOCIATES, P.C.

                                                                        /~
                                                            Marc Toberoff

                                                            23823 Malibu Road, Suite 50-363
                                                            Malibu, CA 90265
                                                            Tel: (310) 246-3333

                                                            As counsel for and on behalf of Nanci Solo,
                                                            Erik Colan and Rachel Waldman

  any right or remedy that Nanci Solo, Erik Colan and/or Rachel Waldman, may have, at law or in equity,
  with respect to the subject matter hereof, all of which is hereby expressly reserved.
          4
            This Notice of Termination also applies to each and every grant or alleged grant by Eugene J.
  Colan of rights under copyright in and to the Work that falls within the applicable termination time window
  (defined by 17 U.S.C. § 304(c) and the effective date of this Notice of Termination). Every reasonable effort
  has been made to find and list herein every such grant and/or transfer. Nevertheless, if any such grant and/or
  transfer has been omitted, such omission is unintentional and involuntary, and this Notice of Termination
  applies as well to each and every such omitted grant and/or transfer.
                                                        3
Case 1:21-cv-05316-NRM-TAM           Document 45-13          Filed 12/02/22      Page 23 of 23 PageID
                                           #: 1554




                                  CERTIFICATE OF SERVICE

         I hereby certify that I caused a true copy of the foregoing document described as

  NOTICE OF TERMINATION: "GUARDIANS OF THE GALAXY" to be served this 15 th day

  of November, 2022, by First Class Mail, postage prepaid, upon each of the following:

   To:   Marvel Entertainment, LLC                            Marvel Studios, LLC
         Marvel Worldwide, Inc.                               MVL Rights, LLC
         Marvel Property, Inc.                                MVL Development, LLC
         Marvel Characters, Inc.                              Marvel Characters, Inc.
         1290 Avenue of the Americas                          500 South Buena Vista Street
         New York, NY 10104                                   Burbank, CA 91521
         Attn: John Turitzin, Chief Counsel                   Attn: David Galluzzi, Chief Counsel
               Eli Bard, Deputy Chief Counsel

         The Walt Disney Company
         500 South Buena Vista Street
         Burbank, CA 91521
         Attn: Alan Braverman, General Counsel



         I declare under penalty of perjury that the foregoing is true and correct. Executed this 15 th

  day of November, 2022, at Malibu, California.




                                                            e Parkkinen
                                                       To eroff & Associates, P.C.
                                                       23823 Malibu Road, Suite 50-363
                                                       Malibu, CA 90265

                                                       Counsel for Nanci Solo, Erik Colan and
                                                       Rachel Waldman




                                                   4
